   Case 3:12-mj-02547-DEA              Document 81     Filed 09/28/12      Page 1 of 2 PageID: 236
   -    .n -   . -   at..                  tat. —


                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY
               ..   fl        flflfl




 UNFI ED STATES OF AMERICA                      :       honorable Douglas Arpert

                                                       Mag. No. 12-2547 fDA)

 MA19’HE’s\’ RL’I3LOWITZ
      a La i:at !‘1att”
                                                       ORDER FOR CONTINUANCE


         This matter having been opened to the Court by Paul .1. Fishman. United States Attorney for

the District of New Jersey (Jonathan W. Romankow, Assistant U.S. Attorney. appearing), and

defendant MAY11 JEW RLII3LOWITZ, a/k/a lat Matt” (Charles E. Waldron. Esq.. appearing).
                                                                                                  for
an order granting a continuance of the proceedings in the above-captioned matter: and
                                                                                                  one
continuance having previously been granted: and the defendant being aware that he has the right to

have the matter presented to a Grand Jury within thirty (30) days of the date of his arrest pursuant

to Title IS U.S.C. § 3161: and the defendant through his attorney having vaived such
                                                                                           rights and
consented to the continuance: and for good and sufficient cause shown.

        IT IS ii IC FINDING OF TIllS COURT that this action should be continued for the

following reasons:

                1. Plea negotiations currently are in progress. and both the United States and the

       defendant desire additional time to enter a plea in Court, which would thereby render trial

       of this matter unnecessary.

               2. Defendant has consented to the aforementioned continuance.

               3. the grant of a continuance sill likely conserve judicial resources.

               4. Pursuant to Title 18 of the United States Code. Section 3161 (h)(7)(A). the
                                                                                                ends
       oljustice sen ed by granting the continuance outweigh the best interests ofthe public and the

       defendants in a speedy trial.
   Case 3:12-mj-02547-DEA Document 81 Filed 09/28/12 Page 2 of 2 PageID: 237
        WI IEREFORL. on tius dav of/t47            2012;

         ORDERED that the proceedings in the above-captioned mailer are continued from September

  14, 201 2 through ixovember 13, 2012; and ii is further

         ORDERED that the period between from September 14, 2012 through November
                                                                                  13, 2012
 shall be excludable in computing time under the Speedy Trial Act of 1974.


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                                       HON. DOUJLAS iRPERT
                                       United State Maglsirate Judge




Form and entry
consented to:



  icT?T\NROMANKOW
)‘istant U.S. Anorne



 cL
CHARLES F. WALDRON, lisq.
Counsel for De1ndant Matthew Rublowit,z
